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                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

In re:                                                     Case No. 12-46715
         FELICIA MCINTOSH

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Diana S. Daugherty, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 07/12/2012.

         2) The plan was confirmed on 11/30/2012.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 06/13/2013.

         5) The case was completed on 07/05/2017.

         6) Number of months from filing to last payment: 60.

         7) Number of months case was pending: 64.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $24,720.53.

         10) Amount of unsecured claims discharged without payment: $63,029.93.

         11) All checks distributed by the trustee relating to this case have cleared the bank.




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Receipts:

       Total paid by or on behalf of the debtor              $36,721.30
       Less amount refunded to debtor                         $1,302.24

NET RECEIPTS:                                                                                   $35,419.06


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                $3,931.00
    Court Costs                                                              $0.00
    Trustee Expenses & Compensation                                      $1,674.14
    Other                                                                    $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                 $5,605.14

Attorney fees paid and disclosed by debtor:                  $69.00


Scheduled Creditors:
Creditor                                      Claim         Claim            Claim        Principal       Int.
Name                                Class   Scheduled      Asserted         Allowed         Paid         Paid
BUYERS PROTECTION GROUP         Unsecured         390.00           NA               NA            0.00         0.00
CONSUMER DEBT TRUST             Unsecured      13,058.00     13,204.06        13,204.06        290.15          0.00
DISCOVER BANK                   Unsecured      10,048.00      9,856.50         9,856.50        216.59          0.00
DISCOVER PERSONAL LOANS         Unsecured       7,566.54      7,413.64         7,413.64        162.90          0.00
ECAST SETTLEMENT CORP           Unsecured       8,034.00      8,034.59         8,034.59        176.55          0.00
HSBC                            Unsecured       7,005.07           NA               NA            0.00         0.00
JEFFERSON CAPITAL SYSTEMS LLC   Unsecured       3,327.00      3,768.79         3,768.79          82.81         0.00
MASTORAKOS ORTHODONTIC ASSO     Unsecured       6,654.40     10,484.10        10,484.10        230.37          0.00
PAY DAY ONE                     Unsecured         496.19           NA               NA            0.00         0.00
PORTFOLIO RECOVERY ASSOC LLC    Unsecured            NA       3,556.21         3,556.21          78.14         0.00
PROGRESSIVE FINANCE             Secured           617.47      1,068.82         1,068.82          39.96         0.00
US BANK NA                      Secured        77,102.00          0.00        77,114.39           0.00         0.00
US BANK NA                      Unsecured            NA          59.60            59.60           1.31         0.00
VANTAGE CREDIT UNION            Secured        25,715.34     25,513.33        25,513.33     25,513.33    3,021.81




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 Summary of Disbursements to Creditors:
                                                             Claim           Principal           Interest
                                                           Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                 $77,114.39              $0.00             $0.00
       Mortgage Arrearage                                    $0.00              $0.00             $0.00
       Debt Secured by Vehicle                          $25,513.33         $25,513.33         $3,021.81
       All Other Secured                                 $1,068.82             $39.96             $0.00
 TOTAL SECURED:                                        $103,696.54         $25,553.29         $3,021.81

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00             $0.00             $0.00
        Domestic Support Ongoing                               $0.00             $0.00             $0.00
        All Other Priority                                     $0.00             $0.00             $0.00
 TOTAL PRIORITY:                                               $0.00             $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                            $56,377.49          $1,238.82              $0.00


Disbursements:

         Expenses of Administration                            $5,605.14
         Disbursements to Creditors                           $29,813.92

TOTAL DISBURSEMENTS :                                                                      $35,419.06


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed. The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 11/07/2017                            By:/s/ Diana S. Daugherty
                                                                    Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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